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                     UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

       Plaintiff

           v.
                                                  CR. NO. 07-318 (PG)
CARMEN M. FLORES-RIVERA [10],

       Defendant.



                                OPINION AND ORDER
     Pending    before   the   Court   are   defendant   Carmen   M.   Flores-Rivera
(“Defendant” or “Flores”) motions to withdraw her plea of guilty (Docket Nos.
2274, 2306, and 2442) and the government’s opposition thereto (Docket No. 2429).
For the reasons that follow, the Court DENIES Defendant’s request to withdraw
her guilty plea.
                                  I. BACKGROUND
     In the case at bar, the parties reached a plea agreement. As a result, on
December 23, 2009, Defendant pled guilty to Count One of the Indictment, which
charged her with violating 21 U.S.C. §§ 846, 860, namely, conspiracy to
distribute narcotic controlled substances. See Superseding Indictment, Docket
No. 478; Docket No. 1811. In the change of plea hearing, Flores pled guilty to
acting as “runner” for the conspiracy. See Docket No. 2385 at pages 18-19.
However, on May 13th, June 1st, and August 18th, 2010, the Defendant filed
motions to withdraw her plea of guilty. See Docket Nos. 2274, 2306, and 2442.
And although a sentencing hearing was scheduled for June of 2010, the same was
continued sine die in light of Defendant’s requests.
     In her motions, Flores claims to have changed her opinion regarding her
acceptance of culpability and wishes to exercise her right to a jury trial. In
support of her request, the Defendant emphasizes the fact that she has suffered
psychiatric health issues for some time that have required medical intervention
and have prevented her from filing this request earlier. Additionally, Flores
claims that the stress of having her daughter and a vast number of her family
members convicted moved her to accept a plea that she now believes was made
under situational pressure. See Docket No. 2306. Furthermore, Flores asserts her
claim of innocence in her request. See id.
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      On August 2, 2010, the Government responded to Defendant’s motions
opposing her request to withdraw her guilty plea. The Government argues that
Flores’ plea was voluntary, intelligent and knowing, and that Flores has failed
to set forth a serious claim of actual innocence. Finally, it opposed Flores’
request on the grounds of the prejudice it will cause to the Government if the
Defendant is allowed to withdraw her plea after the time and work that went into
entering into such an agreement. See Docket No. 2429.
                                  II. DISCUSSION
      Rule 11(d) of the Federal Rules of Criminal Procedure states as follows:
             A defendant may withdraw a plea of guilty or nolo
             contendere:
             …
             (2) after the court accepts the plea, but before it
             imposes sentence if:
                   (A) …
                   (B) the defendant can show a fair and just reason
                   for requesting the withdrawal.
FED.R.CRIM.P. 11(d). Pursuant to the directives of the First Circuit Court of
Appeals, “[d]uring the interval between the acceptance of a guilty plea and
sentencing, the district court should liberally allow withdrawal of guilty pleas
for any fair and just reason.” U.S. v. Gurka, 605 F.3d 40, 42-43 (1st Cir.2010)
(citing United States v. Mescual-Cruz, 387 F.3d 1, 6 (1st Cir.2004)) (internal
quotation marks omitted). However, “[i]t is well established that a defendant
does not have an absolute right to withdraw a guilty plea.” U.S. v. McMullin,
568 F.3d 1, 8-9 (1st Cir.2009) (citing United States v. Negron-Narvaez, 403 F.3d
33, 36 (1st Cir.2005)).
      The factors a court should consider are: “whether the plea was voluntary,
intelligent, knowing and in compliance with Rule 11; the strength of the reasons
offered in support of the motion; whether there is a serious claim of actual
innocence; the timing of the motion; and any prejudice to the government if the
withdrawal is allowed.” U.S. v. Isom, 580 F.3d 43, 52 (1st Cir.2009) (citing
United   States   v.   Padilla-Galarza,   351     F.3d   594,    597   (1st    Cir.2003)).
Nevertheless, the most important factor to consider of Rule 11’s “core concerns”
is whether the plea was voluntary, intelligent, and knowing. See Isom, 580 F.3d
at 52.
      In her motion to withdraw her plea of guilty, the Defendant points to the
ongoing medical treatment she has been receiving in support of her claim that
her plea should be withdrawn. On the other hand, the Government argues that
Flores was admittedly “calm” during the proceeding and was duly advised during
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the change of plea hearing and in writing in the plea agreement she signed. See
Docket No. 2429. The Court agrees with the latter.
      In the hearing, Flores admitted to understanding the charges contained in
the indictment against her and the count to which she was pleading guilty, as
well as to being satisfied with her attorney’s services. The Court also
encouraged the Defendant to consult with her attorney in case she had any
questions. It is also important to note that at the very beginning of the
hearing the Court asked Flores how she was feeling and she responded “I am
calm.” See Docket No. 2385 at pages 2-3. Pursuant to the foregoing, the Court
found her competent to plea.
      During the course of the proceedings, the Court asked the Defendant if she
was being forced, threatened or offered a reward to plead guilty, which she
denied.
             THE COURT: Now, Ms. Flores, has anybody threatened you
             in any way to induce you to plead guilty?

             DEFENDANT CARMEN FLORES-RIVERA: No.

             …

             THE COURT: Is anybody forcing you in any way to plead
             guilty?

             DEFENDANT CARMEN FLORES-RIVERA: No.

             THE COURT: Has anybody offered you any rewards or other
             things of value to get you to plead guilty?

           DEFENDANT CARMEN FLORES-RIVERA: No.
See Docket No. 2385 at pages 8-9. The Court also made sure that the plea was
being entered voluntarily:
             THE COURT: At paragraph 17 each one of you is
             acknowledging to the Court that no threats have been
             made to induce you to plead guilty and that you are
             pleading guilty freely and voluntarily because, in fact,
             you are guilty. Is that correct?

             DEFENDANT CARMEN FLORES-RIVERA: Yes.
See Docket No. 2385 at page 15.
      Moreover, as recounted by the government in its opposition, the Court
engaged in a lengthy discussion with the Defendant during the change of plea
hearing wherein she was advised, among other things, of her right to a jury
trial, to a presumption of innocence, to be represented by counsel, to confront
and cross-examine witnesses, to testify and present evidence, and to be
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protected from self-incrimination if she had decided to proceed to trial in
accordance with Rule 11(b). The Defendant was also advised that she was waiving
these rights by entering a plea of guilty. Additionally, the Court explained all
issues related to the calculation of the penalty to be imposed, including the
fact that the Court was not bound by the plea agreement or any sentencing
stipulations or recommendations. The Court went also into detail as to the
nature of the charge to which Flores was pleading guilty:
             Now, each one of you is charged in Count One that from
             in or about the year 2004 to February of the year 2008,
             you together with at least 44, 45 other persons did
             knowingly and intentionally conspired and agreed with
             each other or with 7 others to knowingly and
             intentionally possess with intent to distribute
             narcotics, and that is an offense against the United
             States.

             This conspiracy involved the purchase of narcotics to be
             distributed by you or other co-conspirators at drug
             points located within the Victor Berrios public housing
             project in Yabucoa.

             That the monies made from these sales of narcotics would
             be distributed among the co-conspirators.

             That the distribution would take place within the public
             housing project between Building 6 and 7 and in an area
             known as “hospitalillo.”

             The manner and means of this conspiracy would be that
             purchases would be made of narcotics, then these
             narcotics would be cut divided and packaged for
             subsequent sale in small packages within the housing
             project.

             Some of the members of the conspiracy would take the
             cocaine purchased and cook it to make “crack,” or
             cocaine base, which was also packaged in small packages
             for sale.

             That the two drug points would be operated seven days a
             week. That as part of the conspiracy, members of that
             organization would store weapons and drug trafficking
             proceeds in different locations within the housing
             project and other places. Some of them would carry,
             possess, brandish and use firearms to protect
             themselves, the drug proceeds and the operations of the
             drug points from other individuals.

             And that as part of that conspiracy, the various members
             would have different roles and perform different tasks
             in furtherance of that conspiracy.
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              And the indictment does enumerate the various roles as,
              for example, the leader, which is charged as Robert
              Belleza, who was found guilty in this court after a
              trial.

              You have the supervisors, who have also been found
              guilty or pled guilty; administrators; runners.

              In the case of Ms. Flores, you are included under the
              heading of “runner.”

              The runners basically worked under the direct
              supervision of the administrator of this organization.
              They were responsible for providing sufficient narcotics
              to the sellers for distribution; to supervise and make
              sure that there were street sellers for every shift of
              the drug points and also paying the sellers. And that
              runners would supervise the daily activities at the drug
              points, including the sellers and the lookouts.

              You, Ms. Flores, would store drugs at your Apartment 45,
              Building 6; and you acted also as a seller sometimes and
              assisted Sandra Fernandez in accounting affairs at the
              drug points.

              There were the enforcers and there were sellers. These
              would be the individuals who would distribute the street
              quantities of the drugs.

              The sellers were accountable to the runners for the drug
              proceeds of the drug sold. And Mr. Alex Flores-Rivera is
              included as a seller.

              And then there was also a facilitator.

              Basically, that is what each one of you is charged in
              Count One.

              I ask you, Ms. Flores, is that what you did? That’s what
              you are pleading guilty to, what I’ve just read to you,
              as a runner?

              DEFENDANT CARMEN FLORES-RIVERA: Yes.

See Docket No. 2385 at page 17-19. Finally, the Court had the government make
a factual representation of what it would had been prepared to prove if the case
had proceeded to trial.
      “The transcript corroborates that Defendant understood the charges against
[her] and the spectrum of possible penalties to which [her] admission of guilt
exposed [her].” U.S. v. Cedeno, 559 F.Supp.2d 160, 164 (D.P.R. 2008) (quoting
United States v. Jimenez, 512 F.3d 1, 4 (1st Cir.2007) (holding that a
defendant’s    acknowledgment,   during   a   change-of-plea   proceeding,   that   he
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understands a lucid explanation of his potential sentencing exposure is powerful
evidence of the knowing nature of his guilty plea.). In fact, the transcript
demonstrates that Flores entered a voluntary, intelligent and knowing plea of
guilty. Accordingly, we reject Flores’ argument that her plea was not so.
      In her motion to withdraw her guilty plea, the Defendant also asserts a
claim of innocence. Flores states, without more, that she “nonetheless asserts
her innocence and denies any involvement in the charged conspiracies or
substantive offenses.” See Docket No. 2306 at page 4. First of all, the
Defendant’s claim of innocence flies in the face of her admission to the
contrary during the plea hearing. See Cedeno, 559 F.Supp.2d at 165 (“[t]he Court
will take into consideration that Defendant asserted his innocence, however,
said factor will be weighed in light of Defendant’s … admissions made during the
Rule 11 change of plea colloquy”). Second, Flores presents no evidence in
support of this claim. Finally, the Court finds that if Defendant had truly
believed she was innocent, she would not have waited until five months after her
plea to seek its vacatur. See Isom, 580 F.3d at 50. The factors a court must
consider include “whether there is a serious claim of actual innocence … ,” id.
at 52 (emphasis ours), and Defendant’s plain and unsupported claim falls short
of the mark.
      The Court must also consider the timing of the motion. In the case at
hand, the Defendant’s attempt to vacate her guilty plea five months after the
fact and on the eve of the sentencing hearing actually weighs against her.
      Finally, because “the combined weight of these factors go against
Defendant’s request we need not consider whether the Government suffered any
prejudice.” Cedeno, 559 F.Supp.2d at 165-166.
      Pursuant to the foregoing, the Court finds that the Defendant’s proffered
reasons are not strong or sufficient for this Court to grant her plea withdrawal
request.
                                III. CONCLUSION
      For the reasons explained above, the Court DENIES Defendant’s motions to
withdraw her plea of guilty (Docket Nos. 2274, 2306, and 2442).
      IT IS SO ORDERED.
      In San Juan, Puerto Rico, October 20, 2010.


                                          S/ JUAN M. PÉREZ-GIMÉNEZ
                                          JUAN M. PÉREZ-GIMÉNEZ
                                          UNITED STATES DISTRICT JUDGE
